               Case 2:18-cr-00036-LGW-BWC Document 75 Filed 02/28/19 Page 1 of 1
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                                               -LG
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                                                          NOTICE TO COUNSEL

       Before proceeding with the scheduled motions hearing in this case, the Court directs counsel for the parties
to answer the following inquires.

         1.    Have all of your pretrial motions been satisfied or othenrvise resolved?                     l\/"
        2.     Please list any unresolved motions which required a ruling by the court and indicate whether argument
               is requested and/or whether an evidentiary hearing is required. Any motion which is not listed will
               be dismissed as moot.

         3.        lf a hearing is not required, please indicate so and return.
                                                                                                                   Evidentiarv
               Nature of Motion                                                           Arqument                 Hearinq
                                                                                          Requested                Required

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                                                                                                 Counselfor:



        USA v. Jonathan Lamar Manet,
        2:18c136
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BY DIRECTION OF THE COURT: E-FILE this document on or before neflA,                              ss@g+8
                                                                                           Kim Mixon
                                                                                           Courtroom Deputy Clerk
                                                                                           801 Gloucester Street
                                                                                           Brunswick, Georgia 31 521
